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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

JAMES EDWARD BROGDON, JR., et         *
al.,
                                      *
      Plaintiffs,
                                      *
vs.                                            CASE NO. 4:23-CV-88 (CDL)
                                      *
FORD MOTOR COMPANY,
                                      *
      Defendant.
                                      *

                                 O R D E R

      If the jury finds that punitive damages should be assessed

against Ford Motor Company, then Plaintiffs will seek to introduce

evidence of Ford’s financial condition, including evidence of its

net worth and evidence of profits from the sale of Ford F-250 Super

Duty trucks with the same allegedly defective roof design as the

design of the Millses’ truck.       Ford asserts that the Court should

exclude all evidence of Ford’s net worth, as well as most evidence

of Ford’s profits from F-250 Super Duty trucks.                For the reasons

set forth below, the Court denies Ford’s motion to exclude this

evidence (ECF No. 232).         This ruling shall apply to evidence

Plaintiffs seek to admit through an expert, including Joshua

Brooks.

                                DISCUSSION

      When the trier of fact finds that punitive damages shall be

awarded, the trier of fact must determine the amount of punitive
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damages, receiving “such evidence as is relevant to a decision

regarding what amount of damages will be sufficient to deter,

penalize, or punish the defendant in light of the circumstances of

the case.” O.C.G.A. § 51-12-5.1(d)(2); 1 see Philip Morris USA v.

Williams, 549 U.S. 346, 352 (2007) (noting that punitive damages

“may properly be imposed to further a State’s legitimate interests

in   punishing   unlawful     conduct   and   deterring    its    repetition”)

(quoting BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 568 (1996)).

The Georgia Supreme Court determined that several factors may be

considered in setting the amount of punitive damages, including

“the profitability of the defendant’s wrongdoing,” and that “the

financial circumstances of the defendant may be admissible.” Hosp.

Auth. of Gwinnett Cnty. v. Jones, 386 S.E.2d 120, 124-25 n.13 (Ga.

1989), judgment vacated on other grounds, 499 U.S. 914 (1991), and

judgment reinstated, 409 S.E.2d 501 (Ga. 1991).

      The first type of evidence Ford seeks to exclude is evidence

of its net worth.       Net worth is a “measure of one’s wealth,

usu[ally] calculated as the excess of total assets over total

liabilities.”    WORTH, Black's Law Dictionary (12th ed. 2024).                Net

worth evidence goes to the amount of punitive damages that would

be sufficient to deter, penalize, or punish the defendant given




1
  This is a diversity action, so Georgia substantive law applies “unless
federal constitutional or statutory law is contrary.” Ins. Co. of N.
Am. v. Lexow, 937 F.2d 569, 571 (11th Cir. 1991).


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the circumstances of the case.         Georgia courts have determined

that net worth evidence is admissible on the amount of punitive

damages.   J.B. Hunt Transp., Inc. v. Bentley, 427 S.E.2d 499, 505

(Ga. Ct. App. 1992); accord Wilson v. McLendon, 166 S.E.2d 345,

346 (Ga. 1969) (finding no constitutional infirmity in former

Georgia punitive damages statute, which allowed evidence of the

parties’ “worldly circumstances” as a factor to be considered in

determining the amount necessary to deter conduct and noting that

although “the assessment of even a small amount of damages would

be adequate punishment for a very poor man, . . . it would require

the assessment of a much larger sum to be any punishment for a

very wealthy man”).

     The Court understands that the Supreme Court has expressed

concern that allowing “evidence of a defendant's net worth creates

the potential that juries will use their verdicts to express biases

against big businesses.”       State Farm Mut. Auto. Ins. Co. v.

Campbell, 538 U.S. 408, 417 (2003).         But the Supreme Court also

noted that it is well settled that a defendant’s net worth is a

factor typically considered in assessing punitive damages, and the

Supreme Court has not held that it is error to admit such evidence

or to instruct the jury that it may consider such evidence.                See

id. at 427-28 (noting that a defendant’s wealth, while a factor

that may be considered in determining the amount of punitive

damages, cannot be used to make up for the failure of other factors


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and save “an otherwise unconstitutional punitive damages award”);

id. at 417 n.2 (“It remains to be seen whether, or the extent to

which, [the Campbell] decision [reversing a punitive damages award

and   remanding    for     recalculation       where    the    jury      improperly

considered    lawful     out-of-state       conduct    and   there    was   “scant”

evidence that the defendant engaged in “repeated misconduct”] will

unsettle that law.”).

      Ford did not present any binding authority establishing that

it would be error to admit evidence of a defendant’s net worth on

a claim for punitive damages under Georgia law.                As the Court has

previously observed, “It is common sense that the amount of a civil

penalty may impact a wrongdoer (and thus his conduct) differently

depending upon the wealth of that wrongdoer.”                 Christian v. Ford

Motor Co., No. 4:22-CV-62 (CDL), 2024 WL 1496236, at *2 (M.D. Ga.

Mar. 4, 2024).         “The Court cannot find that our Constitution

prohibits state legislatures from adopting statutes with this

underlying purpose which take into consideration notions of basic

human behavior.”     Id.   So, to the extent that Ford seeks to exclude

evidence of its financial condition/net worth for the purpose of

allowing the jury to determine what amount of punitive damages is

necessary and appropriate to punish and deter Ford, the Court

declines to exclude such evidence.

      The second type of evidence Ford seeks to exclude is evidence

of Ford’s profits from the sale of the allegedly defective Ford F-


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250 Super Duty trucks.          Plaintiffs argue that Ford’s total profits

from the sale of F-250 Super Duty trucks may be admitted as

evidence of the amount necessary to deter Ford and to show the

degree of Ford’s reprehensibility.                    Ford, on the other hand,

contends     that   the    only       admissible      profitability     evidence      is

evidence of the profits from the sale of the Millses’ F-250 Super

Duty truck. With all due respect to Ford’s experienced legal team,

that    argument    is    absurd.       Likely     expecting     the   Court’s       cool

reception to such an argument, Ford argues in the alternative that

any such profitability evidence should be limited to Georgia

profits. That argument is not frivolous, but it is not persuasive.

       Under Georgia law, one factor to consider in setting the

amount of punitive damages is “the profitability of the defendant’s

wrongdoing.”        Jones,      386    S.E.2d    at    125   n.13.      So,   Georgia

recognizes that a jury can consider evidence of the profits a

defendant     earned     from   selling     an     allegedly     defective    product

instead of using a safer alternative design.                      Such evidence is

relevant on the issue of reprehensibility, which the Supreme Court

observed is the “most important indicium of the reasonableness of

a punitive damages award.”               Campbell, 538 U.S. at 419 (quoting

Gore, 517 U.S. at 575).           In determining reprehensibility, a jury

may consider whether the defendant’s conduct “risks harm to many,”

which “is likely more reprehensible than conduct that risks harm

to only a few.”           Williams, 549 U.S. at 357.               A jury may also


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consider whether the defendant engaged in “repeated misconduct”

because     “repeated    misconduct      is    more    reprehensible        than   an

individual instance of malfeasance.”              Campbell, 539 U.S. at 423

(quoting Gore, 517 U.S. at 577).             Moreover, out-of-state conduct—

including lawful conduct—“may be probative when it demonstrates

the deliberateness and culpability of the defendant’s action in

the State where it is tortious, but that conduct must have a nexus

to the specific harm suffered by the plaintiff.”                     Campbell, 538

U.S. at 422.     Based on the foregoing, it is clear that evidence of

out-of-state profits from the sale of an allegedly defective

product may be admissible on the issue of reprehensibility.                        The

critical issue is how shall it be admitted.

       Punitive damages cannot be used to punish a defendant for

harming nonparties.        Therefore, the jury must understand this

limitation on their consideration of such evidence.                  Williams, 549

U.S. at 353.     The Supreme Court recognized the “practical problem”

of how to ensure that the jury only uses evidence “of harm caused

others under the rubric of reprehensibility” while not punishing

the defendant for harm to others.              Id. at 357.         As is often the

case    with   appeals   courts,   the       Supreme   Court   did    not    provide

specific guidance to lower courts as to how to explain this

important distinction to a jury. Id.              It is clear, however, that

the Supreme Court did not hold that the trial courts must exclude

evidence of harm to others caused by a defective product.


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     The Court finds that evidence of Ford’s total profits from

the sale F-250 Super Duty trucks may be admitted because such

evidence is relevant on the reprehensibility of Ford’s conduct.

The Court intends to provide a limiting instruction to the jury on

this evidence so that the jury understands the purposes for which

it may consider the profits evidence and comprehends that it may

not punish Ford in this action for harm to anyone but Plaintiffs’

decedents.   Counsel shall provide a proposed limiting instruction

to the Court by 5:00 P.M. on February 10, 2025.

                              CONCLUSION

     As discussed above, the Court denies Ford’s motion to exclude

evidence of Ford’s net worth and profits from the sale of Ford F-

250 Super Duty trucks with the same allegedly defective roof design

as the design of the Millses’ truck (ECF No. 232).             This ruling

shall apply to any evidence Plaintiffs seek to admit through an

expert, including Joshua Brooks.

     IT IS SO ORDERED, this 8th day of February, 2025.

                                       s/Clay D. Land
                                       CLAY D. LAND
                                       U.S. DISTRICT COURT JUDGE
                                       MIDDLE DISTRICT OF GEORGIA




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